Filed 8/22/24 Moresun Development v. Village Park Redlands Homeowners Assn. CA4/2
                      NOT TO BE PUBLISHED IN OFFICIAL REPORTS
 California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
                                     or ordered published for purposes of rule 8.1115.


           IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                   FOURTH APPELLATE DISTRICT

                                                 DIVISION TWO



 MORESUN DEVELOPMENT,

          Plaintiff and Respondent,                                      E081821

 v.                                                                      (Super. Ct. No. CIVDS1922050)

 VILLAGE PARK REDLANDS                                                   OPINION
 HOMEOWNERS ASSOCIATION,

          Defendant and Appellant.


         APPEAL from the Superior Court of San Bernardino County. Michael A. Sachs,

Judge. Affirmed.

         Law Offices of Thomas N. Jacobson, and Thomas N. Jacobson, for Defendant and

Appellant.

         Neufeld Marks, Paul S. Marks, and Yuriko M. Shikai, for Plaintiff and

Respondent.




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                                                  I.

                                         INTRODUCTION

          Defendant and appellant, Village Park Redlands Homeowners Association appeals

a judgment largely in plaintiff and respondent, Moresun Development’s favor after a one-

day bench trial. Because of Village’s failure to provide an adequate record on appeal, we

affirm.

                                                  II.
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                        FACTUAL AND PROCEDURAL BACKGROUND

          Moresun sued Village for three claims arising out of the parties’ dispute over four
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parcels of land in Redlands: (1) quiet title, (2) trespass, and (3) declaratory relief.

Village filed a cross-complaint against Moresun for similar claims concerning the same
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parcels.

          The case culminated in a one-day bench trial on the parties’ respective claims. At

the trial, both parties submitted their own exhibits (all of which were admitted), and two

witnesses testified for Moresun. After the trial, the parties filed post-trial briefs, proposed
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statements of decision (SOD), and replies to the corresponding proposed SOD.


          1
               We provide only a brief recitation of the background given how we resolve this
appeal.
          2
               Moresun’s complaint is not in Village’s appellant’s appendix (the AA).
          3
               Village’s cross-complaint is not in the AA.
          4
               None of these filings are in the AA.


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       The trial then issued its SOD. Six weeks later, and without anything further

substantive filings, the trial court issued its judgment, which is almost entirely in

Moresun’s favor. On its first claim for quiet title, the court found that Moresun was

“entitled to Quiet Title” on all four parcels subject to an easement-by-necessity for

Village. On Moresun’s second claim for trespass, the court awarded Moresun $1 in

nominal damages. And on its third claim for declaratory relief, the court “deemed

[Moresun] the Fee Simple owner” of the parcels, subject to Village’s easement-by-

necessity. As for Village’s cross-complaint, the court found that Village was not entitled

to anything beyond the easement.

       Village timely appealed.

                                              III.

                                           DISCUSSION

       Village argues the trial court’s judgment was wrong for four reasons. First,

Village argues the boundary between the parties’ properties was an “agreed boundary”

that Moresun was precluded from challenging. Second, Village argues it was entitled to

an equitable easement, not an easement-by-necessity. Third, Village argues it was

alternatively “entitled to a finding of an easement by necessity.” (Emphasis omitted.)

Fourth, Village argues that it is “entitled to a finding it has a prescriptive right for the use

of the areas raised in the litigation.” (Emphasis omitted.)




       5
           The SOD is not in the AA.

                                               3
       We cannot properly consider these arguments and Moresun’s responses to them,

however, because the record on appeal—Village’s appendix—is inadequate.

       The appellant bears the burden of providing an adequate record on appeal.

(Jameson v. Desta (2018) 5 Cal.5th 594, 608-609.) When an appellant fails to provide an

adequate record, we cannot meaningfully review the trial court’s decisions. (Ibid.) As a

result, an appellant’s “[f]ailure to provide an adequate record on an issue requires that the

issue be resolved against [the appellant].” (Foust v. San Jose Construction Co., Inc.

(2011) 198 Cal.App.4th 181, 187.) In other words, when the appellant fails to provide an

adequate record, we assume everything the trial court did was correct and that it should

be affirmed. (See Jameson v. Desta, supra, at p. 609.)

       The only documents in Village’s AA are the judgment, the register of actions,

Village’s trial exhibits, its notice of appeal, and its notice designating the record on

appeal (which states that Village will submit its own appendix as the record on appeal).

A number of important filings thus are not in Village’s AA, including Moresun’s

complaint and Village’s cross-complaint, any of Moresun’s trial exhibits, the parties’

proposed SODs and replies thereto the parties’ post-trial briefs, and the trial court’s SOD.

       Without these filings (particularly Moresun’s exhibits, the SOD, and the parties’

related filings), our review of the judgment is effectively impossible. (See Sanders v.

Walsh (2013) 219 Cal.App.4th 855, 873-874 [appellants’ failure to provide appellate

court with all trial exhibits created “an insufficient record to fully consider their

contention”]; Thompson v. Asimos (2016) 6 Cal.App.5th 970, 982 [“A proper statement



                                               4
of decision is . . . essential to effective appellate review.”].) Village’s inadequate record

precludes us from meaningfully reviewing the judgment because we can only guess at the

trial court’s underlying findings, rulings, and reasoning as outlined in its SOD—virtually

none of which Village even mentions in its opening brief. Our standard of review

requires us to review all of the material evidence and construe it in Moreson’s favor.

(See Estate of Young (2008) 160 Cal.App.4th 62, 75-76.) We cannot do that on this

record, especially given that the AA lacks the SOD and Moreson’s trial exhibits.

(Thompson v. Asimos, supra, at p. 982 [“‘Without a statement of decision, the judgment

is effectively insulated from review by the substantial evidence rule’” because appellate

court has “no means of ascertaining the trial court’s reasoning or determining whether its

findings on disputed factual issues support the judgment as a matter of law”].)

       Although Moresun pointed out the record problems in its respondent’s brief,

Village provides no justification or explanation for the inadequate record and instead

ignores the issue. Under these circumstances, we can and do assume that the trial court

made every finding necessary to support its judgment. (See Gee v. American Realty &amp;

Construction, Inc. (2002) 99 Cal.App.4th 1412, 1416; Moreno v. City of King (2005) 127

Cal.App.4th 17, 30.) Thus, on this woefully inadequate record, Village fails to show that

the trial court erred, so we must affirm the judgment. (See Foust v. San Jose

Construction Co., Inc., supra, 198 Cal.App.4th at p. 187; Jameson v. Desta, supra, 5

Cal.5th at p. 609.)




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                                       IV.

                                  DISPOSITION

     The judgment is affirmed. Moresun may recover its costs on appeal.

     NOT TO BE PUBLISHED IN OFFICIAL REPORTS


                                                          CODRINGTON
                                                                          J.

We concur:


MILLER
             Acting P. J.


RAPHAEL
                       J.




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